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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF KENTUCKY
LEXINGTON DIVISION

IN RE:

DONALD ANTHONY FITZPATRICK CASE NO. 24-50512-grs

ASHLEY LOUISE FITZPATRICK CHAPTER 11, Sub V
DEBTORS

FINAL ORDER AUTHORIZING EMPLOYMENT OF
HAMILTON LAW OFFICES, PLLC, AS COUNSEL FOR DEBTORS

Upon the Application (the “Application”) of the Debtors for authority to employ and
retain the law firm Hamilton Law Offices, PLLC (“HLO” or “Firm’”) as their counsel to render
necessary legal services to the Debtors effective as of April 29, 2024; and upon the
Declaration of John T. Hamilton, Esq., of the Firm; and it appearing that adequate notice
of the Application was given and no objections having been filed; and the Court being
satisfied that; (1) HLO does not hold or represent an interest adverse to the Debtors, their
creditors, or their Estate with respect to the matters upon which it may advise the Debtors,
and (2) that any connection HLO has with any creditors or parties in interest of the
Debtors, their creditors, or their Estate has been adequately disclosed to permit its
employment; and the Court being otherwise sufficiently advised and having considered

same,
IT IS HEREBY ORDERED:

1. The Application is approved on a final basis effective as of April 29, 2024.
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2. Pursuant to 11 U.S.C. §§ 327(a) and 328(a), the Debtors are hereby
authorized to employ and retain the law firm HLO, on the terms set forth in the Application,
to render necessary legal services and represent the Debtors as of the Petition. HLO is
authorized to accept payment from the Debtors in the amount of $12,000.00, plus up to
$5,000.00 per month, to be held in escrow as a retainer for expenses, services rendered
and to be rendered pending proper application to the Court for approval of fees and
expenses as may be incurred in this case.

3. This is a final Order.

Tendered by:

/s/ John T. Hamilton
John T. Hamilton, KBA # 28127
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Counsel for Debtors

